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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


PATRICIA ROUSSETY,
Individually and on behalf of others similarly situated,

       Plaintiff,

-vs-                                          Case No. 2:14-CV-11677-JCO-MJH
                                              Hon. John Corbett O'Meara
                                              Magistrate Judge: Michael J. Hluchaniuk

NATIONAL CREDITORS CONNECTIONS, INC. ,
GREEN TREE SERVICING, LLC ,
    Defendants.


                      STIPULATED ORDER OF DISMISSAL

       Having been advised by the stipulation of the parties below, it is ordered that

the claims against Green Tree Servicing, LLC, are dismissed with prejudice and

without costs, attorney fees or sanctions to any party.

       The court retains jurisdiction only for purposes of enforcing the settlement in

this matter.

       SO ORDERED.

Date: July 10, 2015                           s/John Corbett O’Meara
                                              United States District Judge


Stipulated To By:

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s/ Julie A. Petrik (P47131)              s/ by consent Martin C. Bryce Jr.
Attorney For Plaintiff                   Attorney for Green Tree Servicing, LLC
Lyngklip & Associates Consumer Law       Martin C. Bryce, Jr.
Center, PLC                              Ballard Spahr LLP
Southfield, MI 48075                     1735 Market Street, 51st Floor
 (248) 208-8864                          Philadelphia, PA 19103
Julie@MichiganConsumerLaw.Com            215-864-82
                                         Bryce@ballardspahr.com




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